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                             EXHIBIT 13

                             In Support of

            United States’ Reply to Defendants’ Oppositions to
     United States’ Second Motion for Partial Summary Judgment and
     United States’ Response to Cross-Motions for Summary Judgment
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      To:     Botevyle, Peter[Peter.Botevyle@anadarko.com]
      From:                   Folger, Derek
      Sent:                   Man 4/5/20108:36:09 PM
      Importance:             Normal
      Sensitivity:            None
      Subject:                FW: Macondo Update
      Categories:             um:content-classes:message


      Latest at Macondo. Paul Chandler is heading up the well on the development side while I'm watching it on
      Exploration side. Bob Quitzau is our Operations Geologist and Bobby Bodek is the geologist at BP.


      From:            Chandler, Paul
      Sent:            Monday, April 05, 2010 3:24 PM
      To:              Quitzau, Robert; Folger, Derek; O'Donnell, Alan; Peyton, Dawn
      Cc:              O'Donnell, Alan; Trautman, Tim
      Subject:         RE: Macondo Update

      I believe they saw an indication of a pressure increase between the M55 sand and the top of the
      Oligocene in the Isabella / Ghost rider wells. Their comment about maybe being in the M55 sand already
      was probably in regards to their latest Pa leo data which identiiied the S. Het. nanno fossil above th e M56
      sand, which would suggest the sand is stratigraphically older than we thought. I'm not buying it yet
      because our log correlation with the Isabella well is so strong to this point, but it is possible. At any rate
      we won't know fo r sure until we drill out a little more section. Thanks for the update Bob -- this helps a lot.


      Paul


      From:            Quitzau, Robert
      Sent:            Monday, April 05, 2010 2:55 PM
      To:              Quitzau, Robert; Chandler, Paul; Folger, Derek; O'Donnell, Alan; Peyton,
                       Dawn
      Subject:         RE: Macondo Update

      Bobby Bodek w BP just called in response to the questions below.

      He says that they have pulled up into the casing shoe and they are circulating with 14.3 ppg mud. They
      plan to spot an LCM treatment into the well. Then they will pull out of the hole. They believe that their
      underreamer was worn out in the big sand. The Geotap tool is also non functional. So they definitely need
      to trip to replace both of these tools.

      Their hope would be to go back in the hole with a new bha and continue drilling some distance.

      He said they are thinking that it is possible that they are through the M56 and may be through the M55.
      They are worried about drilling into a pressure ramp that has shown up elsewhere. So it is possible that
      after.they drill and ream a short distance below the current sand that they would rig up and run wireline to
      get good data on the big pay sand before drilling into more risks.

      If they drill far enough to determine they are getting into higher pressure, they may set their 7-3/4" liner
      (or 7-5/8" liner) and then consider drilling deeper.



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       He says they will look at the POH resistivity data to determine where the losses I ballooning is occurring .
       Their thoughts are that the recent problems were due to ballooning and not higher pore pressure. They
       are still scratching their heads about the 12.58 ppg Geotap pore press ure gradient reading from the upper
       lobe of the big pay sand (18,059' MD). This seems low and they are not sure if this is correct.

       If the balloon ing is confi rmed in the sand at 17,761' MD, some consideration may be given to running an
       expandable liner prior to drilling into pressure . This is just an idea at this point and not a definitive
       direction .

       Operationally I agree with their plan to PO H, replace the equipment , how they are dea ling with the mud
       losses and kee ping the mud wt at 14.3 ppg if possible. The big question of whether or not we are throug h
       the M55 is for you to answer.

       Based on our good correlation with offset wells, do we expect a big press ure ramp below the M55?


       Bob



       From:            Quitzau, Robert
       Sent:            Monday, April OS , 2010 1:57 PM
       To:              Chandler, Paul; Folger, Derek; O'Donnell, Alan
       Subject:         FW: Macondo Update

       This just sent to BP.

       I am worki ng on gaining access to lnsite Anywhere


       From:            Quitzau, Robert
       Sent:            Monday, April OS, 20101:57 PM
       To:              Robert Bodek (Robert.Bodek@bp.com)
       Subject:         Macondo Update

       Robert,
       Can you give me an update on the Macondo well.

       Are you still planning on POH before drilling ahead?
       If so, will you be evaluating the memory resistivity data on th e trip out of the hole to try to confirm where
       the loss zon e is? (Will you trip slowly to get better data?)

       The mom ing report indicates a successfu l Geotap reading of 12.58 ppg@ 18,089' MD. Is this correct?

       Is there any consideration to reducing the mud wt to 14.3 ppg?

       Thanks ,

       Bob Quitzau

       Drilling Consultant - Anadarko Petroleum Corporation
       office 832-636-1551
       mobile 281-380-1298




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